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                 EXHIBIT “A”




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                                                           E. HAURIN




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                                                          B. MERCEDES




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                                                          B. MERCEDES




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                                             :                     Filed and Attested by the
                                             :       COURT OF COMMON
                                                              Office of PLEAS
                                                                         Judicial Records
 ANTONIO LIGAMERI,
                                             :       PHILADELPHIA20  AUG 2022 05:13 pm
                                                                  COUNTY
                      Plaintiff,             :                              I. LOWELL

         vs.                                 :       CIVIL ACTION - LAW
                                             :
                                             :       No. 220702248
 AMAZON.COM and                              :
 AMAZON LOGISTICS, INC.,                     :
                                             :
                      Defendants.            :
                                             :
                                             :

                                         ORDER
        AND NOW, this ___ day of ______________, 2022, upon consideration of Defendants

Amazon.com and Amazon Logistics, Inc.’s Preliminary Objections to Plaintiff, Antonio

Ligameri’s Complaint, the Memorandum of Law in Support thereof, and any response and reply

thereto, it is hereby ORDERED that the Preliminary Objections are SUSTAINED.

        It is further ORDERED that Plaintiff’s Complaint is DISMISSED with prejudice.

                                                 BY THE COURT:



                                                 ____________________________________
                                                                                   , J.




                                                                                 Case ID: 220702248
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                                                                               Control No.: 22083664
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                                               :
                                               :        COURT OF COMMON PLEAS
 ANTONIO LIGAMERI,
                                               :        PHILADELPHIA COUNTY
                       Plaintiff,              :
         vs.                                   :        CIVIL ACTION - LAW
                                               :
                                               :        No. 220702248
 AMAZON.COM and                                :
 AMAZON LOGISTICS, INC.,                       :
                                               :
                      Defendants.              :
                                               :
                                               :

                                           ORDER
        AND NOW, this ___ day of ______________, 2022, upon consideration of Defendants

Amazon.com and Amazon Logistics, Inc.’s Preliminary Objections to Plaintiff, Antonio

Ligameri’s Complaint, the Memorandum of Law in Support thereof, and any response and reply

thereto, it is hereby ORDERED that the Preliminary Objections are SUSTAINED.

        It is further ORDERED that Paragraphs 5, 7-14, 16, 19, 23, and 26, and any reference to

Amazon’s purported recklessness as asserted against Defendants Amazon.com and Amazon

Logistics, Inc. in Plaintiff’s Complaint are STRICKEN with prejudice.

                                                   BY THE COURT:



                                                   ____________________________________
                                                                                     , J.




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                                                      NOTICE TO PLEAD

                                                      TO: Plaintiff

                                                      You are hereby notified to file a written response
                                                      to the enclosed Preliminary Objections of
                                                      Defendants Amazon.com & Amazon Logistics,
                                                      Inc. to Plaintiff’s Complaint within twenty (20)
                                                      days from service hereof or judgment may be
                                                      entered against you.



                                                      Attorneys for Defendants Amazon.com & Amazon
                                                      Logistics, Inc.



 WILSON ELSER MOSKOWITZ                           Attorney for Defendants,
 EDELMAN & DICKER, LLP                            Amazon.com & Amazon Logistics, Inc.
 By: Salvatore A. Clemente, Esquire
       Maria G. Perri-Quinn, Esquire
       Jared M. Smith, Esquire
 Attorney ID: 80830/86737/321370
 Two Commerce Square
 2001 Market Street, Suite 3100
 Philadelphia, PA 19103
 Email:Salvatore.Clemente@wilsonelser.com
        Maria.Perri@wilsonelser.com
        Jared.Smith@wilsonelser.com

                                            :
                                            :       COURT OF COMMON PLEAS
 ANTONIO LIGAMERI,
                                            :       PHILADELPHIA COUNTY
                     Plaintiff,             :
         vs.                                :       CIVIL ACTION - LAW
                                            :
                                            :       No. 220702248
 AMAZON.COM and                             :
 AMAZON LOGISTICS, INC.,                    :
                                            :
                     Defendants.            :
                                            :
                                            :

   DEFENDANTS AMAZON.COM & AMAZON LOGISTICS, INC.’s PRELIMINARY
       OBJECTIONS TO PLAINTIFF ANTONIO LIGAMERI’S COMPLAINT

        COMES NOW, Defendants Amazon.com & Amazon Logistics, Inc. (collectively,

“Amazon”) by and through its counsel, Wilson Elser Moskowitz Edelman & Dicker LLP, and
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hereby preliminarily objects to Plaintiff, Antonio Ligameri’s (“Plaintiff”) Complaint as follows:

        1.     On July 26, 2022, Plaintiff filed a Complaint against Amazon for damages

allegedly sustained as a result of a motor vehicle incident that occurred when Plaintiff’s vehicle

was allegedly struck by a vehicle purportedly owned by Amazon. See a true and correct copy of

Plaintiff’s Complaint attached hereto and marked as Exhibit “A” at ¶¶ 3, 5.

        2.     Plaintiff alleges that an unnamed person operated Amazon’s purported vehicle at

the time of the incident, making a left turn from the right lane from Water Street onto Tasker

Street, in Philadelphia, PA, during which this vehicle impacted with Plaintiff’s vehicle. See

Exhibit “A” at ¶¶ 7-8.

        3.     Plaintiff alleges that as a result of this collision, his vehicle was “pulled several

feet by the driver’s side undercarriage until it came to rest on the sidewalk of East Tasker Street.”

See Exhibit “A” at ¶ 8.

        4.     Plaintiff alleges, without any factual basis, that this vehicle was operated by

“employees, agents, representatives, and/or subcontractors” of Amazon, and that as a result,

Amazon is subject to both direct and vicarious liability. See Exhibit “A” at ¶¶ 7-14, 16, 19, 23,

26.

        5.     Furthermore, Plaintiff scandalously alleges, without any factual support, that the

purported vehicle operator “recklessly” caused the incident. See Exhibit “A” at ¶¶ 16(c), 19(c).

        6.     Additionally, Plaintiff alleges, once again without any factual support, that the

purported vehicle operator drove the vehicle at issue with an excessive speed “under the

circumstances.” See Exhibit “A” at ¶¶ 16(d), 19(d).

        7.     Pursuant to the Pennsylvania Rules of Civil Procedure, Amazon’s filing of these

Preliminary Objections to Plaintiff’s Complaint is timely.


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        8.     Pennsylvania Rule of Civil Procedure 1028 allows for the filing of preliminary

objections by any party as a responsive pleading. Specifically,

        (a) Preliminary objections may be filed by any party to any pleading and are limited to
            the following grounds:

               …

               (2) failure of a pleading to conform to law or rule of court or
               inclusion of scandalous or impertinent matter;

               (3) insufficient specificity in a pleading;

               (4) legal insufficiency of a pleading (demurrer);

               …

See Pa. R. Civ. P. § 1028(a)(2-4).

        9.     Amazon now responds to Plaintiff’s deficient Complaint pursuant to Pa. R. Civ.

P. 1028(a)(2-4) and request that this Honorable Court sustain Amazon’s objections and dismiss

Plaintiff’s Complaint against Amazon, or in the alternative, strike the offending paragraphs,

allegations, claims and prayers of Plaintiff’s Complaint with prejudice.

    A. Amazon’s Preliminary Objection in the Nature of a Motion to Strike Paragraphs 5,
       7-14, 16, 19, 23, and 26 from Plaintiff’s Complaint and/or Dismiss Plaintiff’s
       Complaint Pursuant to Pa. R. Civ. P. 1028(a)(3-4)

        10.    Plaintiff alleges, without any factual support, that at the time of the motor vehicle

accident, the purported vehicle operator as operating a motor vehicle “owned” by Amazon as an

“employees, agents, representatives, and/or subcontractors” of Amazon. See Exhibit “A” at ¶¶ 5,

7-14, 16, 19, 23, 26.

        11.    Further, Plaintiff alleges, without factual support, that Amazon is liable for

negligence as a result of this unfounded claim of agency due to the purported vehicle operator

operating the vehicle at issue with an excessive speed “under the circumstances.” See Exhibit


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“A” at ¶¶ 16(d), 19(d).

        12.    Under Pennsylvania Rule of Civil Procedure 1028(a)(3-4), a party may file a

preliminary objection to the insufficient factual specificity and the legal insufficiency of a

pleading (i.e., a demurrer).

        13.    In considering a demurrer, the Court accepts the material facts pleaded in the

complaint and any reasonable inferences therefrom. Powell v. Drumheller, 653 A.2d 619 (Pa.

1995) (citations omitted).

        14.    The Court “need not accept as true conclusions of law, unwarranted inferences,

argumentative allegations, or expressions of opinion.” S. Union Twp. V. Dept. of Env.

Protection, 839 A.2d 1179, 1185 n.8 (Pa. Cmwlth. Ct. 2003) (citations omitted).

        15.    Under Pennsylvania Rule of Civil Procedure 1019(a), “[t]he material facts on

which a cause of action or defense is based shall be stated in a concise and summary form.” Pa.

R. Civ. P. 1019(a).

        16.    In addition to providing a defendant with notice of a claim and the claim’s

grounds, a plaintiff’s complaint must also formulate the issues by summarizing facts essential to

supporting the claim. Alpha Tau Omega Fraternity v. University of Pennsylvania, 464 A.2d

1349, 1352 (Pa. Super. 1983).

        17.    Instead of providing any factual basis whatsoever for the allegation that the

purported vehicle operator as operating a motor vehicle “owned” by Amazon as an “employees,

agents, representatives, and/or subcontractors” of Amazon, see Exhibit “A” at ¶¶ 5, 7-14, 16, 19,

23, 26, Plaintiff simply declares that the purported vehicle operator was an agent of and acted on

behalf of Amazon, subjecting Amazon to liability.

        18.    As such, the allegations set forth in Paragraphs 5, 7-14, 16, 19, 23, and 26 of


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Plaintiff’s Complaint must be stricken with prejudice, as factually and legally insufficient under

Pa. R. Civ. P. l028(a)(3) and l028(a)(4).

        19.    Further, Plaintiff fails to provide any factual basis for his allegations in

Paragraphs 5, 7-14, 16, 19, 23, and 26, and instead makes general allegations against Amazon

that it is vicariously liable as a result of the purported vehicle operator’s negligence. See Exhibit

“A” at ¶¶ 5, 7-14, 16, 19, 23, 26.

        20.    Additionally, Plaintiff asserts overly broad, general, “boilerplate,” “catch-all,”

ambiguous, and prejudicial averments against Defendants in Paragraphs 16(d) and 19(d) that

lack factual basis and must be stricken with prejudice.

        21.    The purpose of pleadings is to put a defendant on notice of the claims upon which

it will have to defend. Yacoub v. Lehigh Valley Med. Associates, P.C., 805 A.2d 579, 588-89 (Pa.

Super. 2002) (citing McClellan v. Health Maintenance Organization of Pennsylvania, 604 A.2d

1053 (Pa. Super. 1992), appeal denied, 616 A.2d 985 (Pa. 1992)).

        22.    A complaint must give a defendant fair notice of the plaintiff's claims and a

summary of the material facts that support those claims. Pa. R. Civ. P. 1019(a).

        23.    If a plaintiff fails to sufficiently plead material facts to support allegations within

his complaint, a defendant can move to strike these allegations. Connor v. Allegheny Hospital,

461 A.2d 600, 602 n.3 (Pa. 1983).

        24.    Pennsylvania law states that the lack of specificity of a pleading may be raised by

way of Preliminary Objections, either in the nature of a Motion to Strike or for a more specific

pleading due to lack of conformity to law or rule of court. Pa. R. Civ. P. 1028(a)(2)(3); Connor v.

Allegheny Hospital, supra; Arner v. Sokol, 96 A.2d 854, 856 (Pa. 1953).

        25.    Pennsylvania Courts have consistently applied this rule to strike down


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allegations which are overly broad and unduly vague. See Medina v. Milton S. Hershey

Medical Center, 4 Pa. D & C. 5th 528 (Dauph. Co. 2008); Rubeck v. Milroth, 53 Pa. D. & C. 4th

548, 556 (Franklin Co. 2001).

        26.      In Connor, the Supreme Court of Pennsylvania upheld the trial court’s decision to

permit the plaintiff to amend his complaint to allege an entirely new factual theory of liability on

the first day of trial.

        27.      The complaint had contained a general allegation that the defendant was negligent

by “otherwise failing to use due care and caution under the circumstances” and the Court held

that the new factual theory of liability put forth on the first day of trial merely “amplified” a

general allegation of negligence contained in the complaint.

        28.      However, upon examination of footnote 3 of Justice Larsen’s Opinion, the Court

clearly states that preliminary objections could have been filed seeking to strike “the boilerplate

language” for failure to consist of a “concise and summary form of the material facts,” or to seek

some more specific allegations because it was way too indefinite.

        29.      The defendant in Connor was found nonetheless to have waived any objection

because there were no such preliminary objections filed. Id. at 603 n.3.

        30.      Footnote 3 of the Connor decision makes it clear that the mandate of Pa. R. Civ.

P. 1019(a) is that such “catch-all” allegations of liability should be stricken as essentially

meaningless. In the years that followed Connor, courts have regularly struck down these vague

and meaningless allegations.

        31.      In the case of Link v. Roberts, 19 Centre County Legal J. 24 (1984), the Court—

relying on Connor—granted the Defendant’s Preliminary Objections. Presiding Judge Brown

first described the procedural posture of the case:


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               [t]his matter comes before the Court upon Defendant’s preliminary
               objections to Plaintiff’s Complaint in the nature of a Motion for a
               More Specific Pleading, Motion to Strike and a Demurrer.
               Plaintiffs allege in their Complaint that Defendants negligently
               treated Plaintiff, Ann Harris Link, for fractured left radius and left
               ulna. Defendants’ Preliminary Objections are based upon a
               footnote in Connor v. Allegheny Hospital, Pa. 461 A.2d 600, 602
               n.3 (1983) as well as Pa.R.C.P. 1019(a).
Id.

         32. After reviewing the Connor decision, the Court stated:

               [t]o avoid the issue that arose in Connor, this Court must grant
               Defendants’ Motion to Strike with regard to those allegations in
               Plaintiffs’ Complaint that refer to Defendants’ acts which are
               “otherwise negligent.” To hold otherwise would require
               Defendants to prepare to defend against every possible cause of
               action that might fall within the ambit of the language “otherwise
               failed to use due care.” Clearly, this imposes an impossible burden
               upon Defendants.

Id. at 25 (emphasis added).

         33. The Link Court went on to state:

               [t]he result of our holding does not prejudice Plaintiffs. This court
               will consider granting leave to amend the Complaint at any state of
               the proceedings. For that reason, the Court notes that Defendants’
               Motion to Strike is the appropriate vehicle to remedy the
               deficiencies in Plaintiffs’ Complaint rather than Motion for a More
               Specific Pleading. If plaintiffs wish to be more specific at a later
               time, they may move for leave to amend their Complaint.

Id. at 26 (emphasis in original). Accord Badowski v. Acme Markets, 80 Luz. Leg. R. 44 (1990)

(“Connor” allegations of boilerplate acts are too general as to provide defendant with

information sufficient to prepare a defense); Farmer v. Rhoads, 43 D&C 3rd 393 (CCP Chester

Co. 1986) (amended pleading necessary where allegations so vague averments do not notify

defendant of negligence charged); Pakral v. Park, 48 Fayette L.J. 68 (1984) (“Connor”

allegations do not apprise defendant of the claim which plaintiff intends to prove at trial).

        34.    Paragraphs 16(d) and 19(d) of Plaintiff’s Complaint allege, without any factual

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support, that Amazon is liable because the purported vehicle operator drove the vehicle at issue

with an excessive speed “under the circumstances.” See Exhibit “A” at ¶¶ 16(d), 19(d).

        35.    It is unclear from Plaintiff’s Complaint what “other circumstances” Plaintiff

references in these allegations.

        36.    These “catch-all” allegations of negligence are of exactly the type which should

be stricken pursuant to Pa. R. Civ. P. 1019(a), Link, and Connor.

        37.    Allowing insufficient allegations such as these to survive would severely

prejudice Amazon, as these allegations are nothing more than legal conclusions and general

“boilerplate” allegations, and cannot possibly be construed as informing Amazon of any facts of

the underlying action.

        38.    If these allegations are not stricken, Amazon will have to speculate and

prepare defenses to a litany of possible theories of liability that only may be covered by the

language of these averments.

        39.    Amazon should not be forced to expend resources and time in defending against

unlimited possible theories of liability that are not properly pled or supported by the facts

contained in the Complaint.

        40.    Amazon would be prejudiced from having to prepare a defense to not only

countless theories of liability, only to later have to prepare a defense to a new theory brought in

through the “amplification” backdoor as what occurred in Connor.

        41.    “Amplification” of the allegations of Plaintiff’s Complaint could result in Plaintiff

effectively raising a new theory of liability well beyond the running of the statute of limitations,

which would then present Amazon with a myriad of prejudices which such statutes are

fundamentally designed to protect.


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        42.     As such, the allegations set forth in Paragraphs 5, 7-14, 16, 19, 23, and 26 of the

Plaintiff’s Complaint must be stricken with prejudice.

    B. Amazon’s Preliminary Objection in the Nature of a Motion to Strike Paragraphs
       16(c) 19(c), and any reference to Amazon’s purported recklessness from Plaintiff’s
       Complaint and/or Dismiss Plaintiff’s Complaint Pursuant to Pa. R. Civ. P.
       1028(a)(2-4)

        43.     Plaintiff’s Complaint generally alleges, without any factual support, that the

motor vehicle accident was caused by the purported vehicle operator “recklessly” causing the

incident. See Exhibit “A” at ¶¶ 16(c), 19(c).

        44.     Plaintiff’s Complaint does not set forth material facts supporting allegations of

recklessness.

        45.     Plaintiff’s Complaint does not set forth material facts with any specificity so as to

enable Amazon to answer the allegations of recklessness, but rather, only generally alleges that

the incident was caused by, inter alia, Amazon’s recklessness without providing any basis for

such general allegations.

        46.     Plaintiff fails to provide any support for his claims against Amazon, let alone any

support that rises to the level of recklessness.

        47.     Plaintiff fails to provide any support that this unknown, unidentified driver was

working for Amazon or that Amazon had any such knowledge of this driver that would rise to

the level of recklessness.

        48.     Pa. R. Civ. P. 1028(a)(3) permits the filing of preliminary objections for

insufficient specificity.

        49.     Additionally, Pa. R. Civ. P. 1019(a) requires that the material facts supporting a

cause of action shall be stated in a concise and summary form.

        50.     To comply with Pa. R. Civ. P. 1019(a), a complaint must set out material,

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relevant, and well-pleaded facts to support the allegations of liability. See Azar v. Lutz, 2019 Pa.

Super. Unpub. LEXIS 537 *8-9 (Pa. Super. Feb. 19, 2019).

        51.    Amazon should not be forced to waste time and resources defending against

vague, unsupported allegations which are not properly pleaded or supported by facts contained in

Plaintiff’s Complaint.

        52.    Clearly, Plaintiff’s allegations of Amazon’s recklessness in the Complaint fail to

meet the pleading requirements set forth in Pa. R. Civ. P. 1019(a), which mandate that a

complaint set out material, relevant, well-pleaded facts upon which the plaintiff depends to show

the allegations of liability. See Azar, 2019 Pa. Super. Unpub. LEXIS 537 at *8-9.

        53.    Plaintiff’s pleading contains no such facts.

        54.    Further, Plaintiff’s allegations of Amazon’s recklessness in the Complaint are

clearly indicative of an intention to seek punitive damages against Amazon in this matter which

are unsupported by any facts alleged in the Complaint.

        55.    A claim for punitive damages must be supported by evidence that a defendant had

a subjective appreciation of a risk of harm to which a plaintiff was exposed and that the

defendant acted in conscious disregard of that risk. See Hutchinson v. Luddy, 870 A.2d 766, 771-

2 (Pa. 2005) (citing Martin v. Johns-Mansville Corp., 494 A.2d 1088, 1097-8 (Pa. 1985)).

        56.    Plaintiff fails to provide any support that this unknown, unidentified driver was

working for Amazon or that Amazon had any such knowledge of this driver that would rise to a

“subjective appreciation of a risk of harm to which a plaintiff was exposed and that the defendant

acted in conscious disregard of that risk.” Id.

        57.    At best, Plaintiff’s allegations against Amazon aver nothing more than ordinary

negligence and fail to support a claim involving any outrageous conduct or conscious disregard


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of risk which is required under Pennsylvania law. See Valentino v. Philadelphia Triathlon, LLC,

150 A.3d 483, 489 (Pa. Super. 2016).

        58.    Facts and details of Amazon’s alleged recklessness, as required by Pa. R. Civ. P.

1019, which would allow Amazon to evaluate the claims and prepare a proper defense, are

simply not found in the Complaint.

        59.    Accordingly, Plaintiff’s allegations of Amazon’s recklessness contained in the

Complaint fail to meet the specificity requirements of Pa. R. Civ. P. 1019, as the Complaint is

devoid of any supporting facts; as alleged, these allegations aver nothing more than ordinary

negligence and fail to support a claim involving any outrageous conduct or conscious disregard

of risk on the part of Amazon. See Valentino, 150 A.3d at 489.

        60.    Therefore, Amazon’s Preliminary Objection to strike the allegations of

recklessness in Plaintiff’s Complaint has been properly filed and should be sustained.

        WHEREFORE, Defendants Amazon.com & Amazon Logistics, Inc. (collectively,

“Amazon”) respectfully request this Honorable Court enter an Order in the form annexed hereto,

dismissing Plaintiff’s Complaint with prejudice, or in the alternative, striking Paragraphs 5, 7-14,

16, 19, 23, and 26, and any reference to Amazon’s purported recklessness from Plaintiff’s

Complaint.

                                                     WILSON, ELSER, MOSKOWITZ,
                                                     EDELMAN & DICKER, LLP




                                                     Salvatore A. Clemente, Esquire
                                                     Attorney for Defendants
                                                     Amazon.com & Amazon Logistics, Inc.
Date: August 20, 2022


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 WILSON ELSER MOSKOWITZ                                Attorney for Defendants,
 EDELMAN & DICKER, LLP                                 Amazon.com & Amazon Logistics, Inc.
 By: Salvatore A. Clemente, Esquire
       Maria G. Perri-Quinn, Esquire
       Jared M. Smith, Esquire
 Attorney ID: 80830/86737/321370
 Two Commerce Square
 2001 Market Street, Suite 3100
 Philadelphia, PA 19103
 Email:Salvatore.Clemente@wilsonelser.com
        Maria.Perri@wilsonelser.com
        Jared.Smith@wilsonelser.com

                                                :
 ANTONIO LIGAMERI,                              :        COURT OF COMMON PLEAS
                                                :        PHILADELPHIA COUNTY
                        Plaintiff,              :
          vs.                                   :        CIVIL ACTION - LAW
                                                :
                                                :        No. 220702248
 AMAZON.COM and                                 :
 AMAZON LOGISTICS, INC.,                        :
                                                :
                       Defendants.              :
                                                :
                                                :

       MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS AMAZON.COM &
       AMAZON LOGISTICS, INC.’s PRELIMINARY OBJECTIONS TO PLAINTIFF
                    ANTONIO LIGAMERI’S COMPLAINT

         COMES NOW, Defendants Amazon.com & Amazon Logistics, Inc. (collectively,

“Amazon”) by and through its counsel, Wilson Elser Moskowitz Edelman & Dicker LLP, and

hereby files the instant Memorandum of Law in Support of their Preliminary Objections to

Plaintiff, Antonio Ligameri’s (“Plaintiff”) Complaint as follows:

  I.     MATTER BEFORE THE COURT

         Amazon’s Preliminary Objections to Plaintiff’s Complaint.

 II.     STATEMENT OF QUESTIONS INVOLVED


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        1.      Should any allegations as to the purported vehicle operator as operating a motor

vehicle “owned” by Amazon as an “employees, agents, representatives, and/or subcontractors”

and/or acting within the course and scope of any employment with Amazon, and/or acting on

behalf of Amazon, including Paragraphs 7-14, 16, 19, 23, 26, be stricken from Plaintiff’s

Complaint as factually and legally insufficient pursuant to Pa. R. Civ. P. 1028(a)(3) and (4)?

        Suggested Answer: YES.

        2.      Should any allegations as to the purported recklessness of Amazon, including

Paragraphs 16(c) and 19(c), be stricken from Plaintiff’s Complaint as scandalous and

impertinent, and factually and legally insufficient pursuant to Pa. R. Civ. P. 1028(a)(2-4)?

        Suggested Answer: YES.

        3.      Should this Honorable Court dismiss with prejudice Paragraphs 16(d) and 19(d)

from Plaintiff’s Complaint because Plaintiff failed to provide a factual basis for the claim and it

is therefore legally insufficient pursuant to Pa. R. Civ. P. 1028(a)(3-4) and 1019(a)?

        Suggested Answer: YES.

III.    ALLEGED FACTUAL BACKGROUND

        On July 26, 2022, Plaintiff filed a Complaint against Amazon for damages allegedly

sustained as a result of a motor vehicle incident that occurred when Plaintiff’s vehicle was

allegedly struck by a vehicle purportedly owned by Amazon. See a true and correct copy of

Plaintiff’s Complaint attached hereto and marked as Exhibit “A” at ¶¶ 3, 5.

        Plaintiff alleges that an unnamed person operated Amazon’s purported vehicle at the time

of the incident, making a left turn from the right lane from Water Street onto Tasker Street, in

Philadelphia, PA, during which this vehicle impacted with Plaintiff’s vehicle. See Exhibit “A” at

¶¶ 7-8. Plaintiff alleges that as a result of this collision, his vehicle was “pulled several feet by


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the driver’s side undercarriage until it came to rest on the sidewalk of East Tasker Street.” See

Exhibit “A” at ¶ 8. Plaintiff alleges, without any factual basis, that this vehicle was operated by

“employees, agents, representatives, and/or subcontractors” of Amazon, and that as a result,

Amazon is subject to both direct and vicarious liability. See Exhibit “A” at ¶¶ 7-14, 16, 19, 23,

26. Furthermore, Plaintiff scandalously alleges, without any factual support, that the purported

vehicle operator “recklessly” caused the incident. See Exhibit “A” at ¶¶ 16(c), 19(c).

Additionally, Plaintiff alleges, once again without any factual support, that the purported vehicle

operator drove the vehicle at issue with an excessive speed “under the circumstances.” See

Exhibit “A” at ¶¶ 16(d), 19(d).

        Pursuant to the Pennsylvania Rules of Civil Procedure, Amazon’s filing of these

Preliminary Objections to Plaintiff’s Complaint is timely.

IV.     ARGUMENT

               A. Standard of Review

        Pennsylvania Rule of Civil Procedure 1028 allows for the filing of preliminary objections

by any party as a responsive pleading. Specifically, a party may file preliminary objections on

the following grounds:

                  …

                  (2) failure of a pleading to conform to law or rule of court or
                  inclusion of scandalous or impertinent matter;

                  (3) insufficient specificity in a pleading;

                  (4) legal insufficiency of a pleading (demurrer);

                  …

Pa. R. Civ. P. 1028(a)(2-4).



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        Amazon now responds to Plaintiff’s deficient Complaint pursuant to Pa. R. Civ. P.

1028(a)(2-4) and request that this Honorable Court sustain Amazon’s objections and dismiss

Plaintiff’s Complaint against Amazon, or in the alternative, strike the offending paragraphs,

allegations, claims and prayers with prejudice.

               B. Amazon’s Preliminary Objection in the Nature of a Motion to Strike
                  Paragraphs 5, 7-14, 16, 19, 23, and 26 from Plaintiff’s Complaint and/or
                  Dismiss Plaintiff’s Complaint Pursuant to Pa. R. Civ. P. 1028(a)(3-4)

        Plaintiff alleges, without any factual support, that at the time of the motor vehicle

accident, the purported vehicle operator as operating a motor vehicle “owned” by Amazon as an

“employees, agents, representatives, and/or subcontractors” of Amazon. See Exhibit “A” at ¶¶ 5,

7-14, 16, 19, 23, 26. Further, Plaintiff alleges, without factual support, that Amazon is liable for

negligence as a result of this unfounded claim of agency due to the purported vehicle operator

operating the vehicle at issue with an excessive speed “under the circumstances.” See Exhibit

“A” at ¶¶ 16(d), 19(d).

        Under Pennsylvania Rule of Civil Procedure 1028(a)(3-4), a party may file a preliminary

objection to the insufficient factual specificity and the legal insufficiency of a pleading (i.e., a

demurrer). In considering a demurrer, the Court accepts the material facts pleaded in the

complaint and any reasonable inferences therefrom. Powell v. Drumheller, 653 A.2d 619 (Pa.

1995) (citations omitted). The Court “need not accept as true conclusions of law, unwarranted

inferences, argumentative allegations, or expressions of opinion.” S. Union Twp. V. Dept. of

Env. Protection, 839 A.2d 1179, 1185 n.8 (Pa. Cmwlth. Ct. 2003) (citations omitted).

        Under Pennsylvania Rule of Civil Procedure 1019(a), “[t]he material facts on which a

cause of action or defense is based shall be stated in a concise and summary form.” Pa. R. Civ.

P. 1019(a). In addition to providing a defendant with notice of a claim and the claim’s grounds, a


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plaintiff’s complaint must also formulate the issues by summarizing facts essential to supporting

the claim. Alpha Tau Omega Fraternity v. University of Pennsylvania, 464 A.2d 1349, 1352 (Pa.

Super. 1983).

        Instead of providing any factual basis whatsoever for the allegation that the purported

vehicle operator as operating a motor vehicle “owned” by Amazon as an “employees, agents,

representatives, and/or subcontractors” of Amazon, see Exhibit “A” at ¶¶ 5, 7-14, 16, 19, 23, 26,

Plaintiff simply declares that the purported vehicle operator was an agent of and acted on behalf

of Amazon, subjecting Amazon to liability. As such, the allegations set forth in Paragraphs 5, 7-

14, 16, 19, 23, and 26 of Plaintiff’s Complaint must be stricken with prejudice, as factually and

legally insufficient under Pa. R. Civ. P. l028(a)(3) and l028(a)(4). Further, Plaintiff fails to

provide any factual basis for his allegations in Paragraphs 5, 7-14, 16, 19, 23, and 26, and instead

makes general allegations against Amazon that it is vicariously liable as a result of the purported

vehicle operator’s negligence. See Exhibit “A” at ¶¶ 5, 7-14, 16, 19, 23, 26. Additionally,

Plaintiff asserts overly broad, general, “boilerplate,” “catch-all,” ambiguous, and prejudicial

averments against Defendants in Paragraphs 16(d) and 19(d)that lack factual basis and must be

stricken with prejudice.

        The purpose of pleadings is to put a defendant on notice of the claims upon which it will

have to defend. Yacoub v. Lehigh Valley Med. Associates, P.C., 805 A.2d 579, 588-89 (Pa.

Super. 2002) (citing McClellan v. Health Maintenance Organization of Pennsylvania, 604 A.2d

1053 (Pa. Super. 1992), appeal denied, 616 A.2d 985 (Pa. 1992)). A complaint must give a

defendant fair notice of the plaintiff's claims and a summary of the material facts that support

those claims. Pa. R. Civ. P. 1019(a). If a plaintiff fails to sufficiently plead material facts to

support allegations within his complaint, a defendant can move to strike these allegations.


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Connor v. Allegheny Hospital, 461 A.2d 600, 602 n.3 (Pa. 1983). Pennsylvania law states that

the lack of specificity of a pleading may be raised by way of Preliminary Objections, either in the

nature of a Motion to Strike or for a more specific pleading due to lack of conformity to law or

rule of court. Pa. R. Civ. P. 1028(a)(2)(3); Connor v. Allegheny Hospital, supra; Arner v. Sokol,

96 A.2d 854, 856 (Pa. 1953). Pennsylvania Courts have consistently applied this rule to strike

down allegations which are overly broad and unduly vague. See Medina v. Milton S. Hershey

Medical Center, 4 Pa. D & C. 5th 528 (Dauph. Co. 2008); Rubeck v. Milroth, 53 Pa. D. & C. 4th

548, 556 (Franklin Co. 2001).

        In Connor, the Supreme Court of Pennsylvania upheld the trial court’s decision to permit

the plaintiff to amend his complaint to allege an entirely new factual theory of liability on the

first day of trial. The complaint had contained a general allegation that the defendant was

negligent by “otherwise failing to use due care and caution under the circumstances” and the

Court held that the new factual theory of liability put forth on the first day of trial merely

“amplified” a general allegation of negligence contained in the complaint. However, upon

examination of footnote 3 of Justice Larsen’s Opinion, the Court clearly states that preliminary

objections could have been filed seeking to strike “the boilerplate language” for failure to consist

of a “concise and summary form of the material facts,” or to seek some more specific allegations

because it was way too indefinite. The defendant in Connor was found nonetheless to have

waived any objection because there were no such preliminary objections filed. Id. at 603 n.3.

Footnote 3 of the Connor decision makes it clear that the mandate of Pa. R. Civ. P. 1019(a) is

that such “catch-all” allegations of liability should be stricken as essentially meaningless. In the

years that followed Connor, courts have regularly struck down these vague and meaningless

allegations.


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        In the case of Link v. Roberts, 19 Centre County Legal J. 24 (1984), the Court—relying

on Connor—granted the Defendant’s Preliminary Objections. Presiding Judge Brown first

described the procedural posture of the case:

               [t]his matter comes before the Court upon Defendant’s preliminary
               objections to Plaintiff’s Complaint in the nature of a Motion for a
               More Specific Pleading, Motion to Strike and a Demurrer.
               Plaintiffs allege in their Complaint that Defendants negligently
               treated Plaintiff, Ann Harris Link, for fractured left radius and left
               ulna. Defendants’ Preliminary Objections are based upon a
               footnote in Connor v. Allegheny Hospital, Pa. 461 A.2d 600, 602
               n.3 (1983) as well as Pa.R.C.P. 1019(a).

Id. After reviewing the Connor decision, the Court stated:

               [t]o avoid the issue that arose in Connor, this Court must grant
               Defendants’ Motion to Strike with regard to those allegations in
               Plaintiffs’ Complaint that refer to Defendants’ acts which are
               “otherwise negligent.” To hold otherwise would require
               Defendants to prepare to defend against every possible cause of
               action that might fall within the ambit of the language “otherwise
               failed to use due care.” Clearly, this imposes an impossible burden
               upon Defendants.

Id. at 25 (emphasis added). The Link Court went on to state:

               [t]he result of our holding does not prejudice Plaintiffs. This court
               will consider granting leave to amend the Complaint at any state of
               the proceedings. For that reason, the Court notes that Defendants’
               Motion to Strike is the appropriate vehicle to remedy the
               deficiencies in Plaintiffs’ Complaint rather than Motion for a More
               Specific Pleading. If plaintiffs wish to be more specific at a later
               time, they may move for leave to amend their Complaint.

Id. at 26 (emphasis in original). Accord Badowski v. Acme Markets, 80 Luz. Leg. R. 44 (1990)

(“Connor” allegations of boilerplate acts are too general as to provide defendant with

information sufficient to prepare a defense); Farmer v. Rhoads, 43 D&C 3rd 393 (CCP Chester

Co. 1986) (amended pleading necessary where allegations so vague averments do not notify




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defendant of negligence charged); Pakral v. Park, 48 Fayette L.J. 68 (1984) (“Connor”

allegations do not apprise defendant of the claim which plaintiff intends to prove at trial).

        Paragraphs 16(d) and 19(d) of Plaintiff’s Complaint alleges, without any factual support,

that Amazon is liable because the purported vehicle operator drove the vehicle at issue with an

excessive speed “under the circumstances.” See Exhibit “A” at ¶¶ 16(d), 19(d). It is unclear from

Plaintiff’s Complaint what “other circumstances” Plaintiff references in these allegations. These

“catch-all” allegations of negligence are of exactly the type which should be stricken pursuant to

Pa. R. Civ. P. 1019(a), Link, and Connor. Allowing insufficient allegations such as these to

survive would severely prejudice Amazon, as these allegations are nothing more than legal

conclusions and general “boilerplate” allegations, and cannot possibly be construed as informing

Amazon of any facts of the underlying action.

        If these allegations are not stricken, Amazon will have to speculate and prepare

defenses to a litany of possible theories of liability that only may be covered by the language of

these averments. Amazon should not be forced to waste resources and time in defending against

unlimited possible theories of liability that are not properly pled or supported by the facts

contained in the Complaint. Amazon would be prejudiced from having to prepare a defense to not

only countless theories of liability, only to later have to prepare a defense to a new theory

brought in through the “amplification” backdoor as what occurred in Connor. “Amplification”

of the allegations of Plaintiff’s Complaint could result in Plaintiff effectively raising a new

theory of liability well beyond the running of the statute of limitations, which would then present

Amazon with a myriad of prejudices which such statutes are fundamentally designed to protect.

        As such, the allegations set forth in Paragraphs 5, 7-14, 16, 19, 23, and 26 of the

Plaintiff’s Complaint must be stricken with prejudice.


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               C. Amazon’s Preliminary Objection in the Nature of a Motion to Strike
                  Paragraphs 16(c) 19(c), and any reference to Amazon’s purported
                  recklessness from Plaintiff’s Complaint and/or Dismiss Plaintiff’s Complaint
                  Pursuant to Pa. R. Civ. P. 1028(a)(2-4)

        Plaintiff’s Complaint generally alleges, without any factual support, that the motor

vehicle accident was caused by the purported vehicle operator “recklessly” causing the incident.

See Exhibit “A” at ¶¶ 16(c), 19(c).Plaintiff’s Complaint does not set forth material facts

supporting allegations of recklessness. Plaintiff’s Complaint does not set forth material facts

with any specificity so as to enable Amazon to answer the allegations of recklessness, but rather,

only generally alleges that the incident was caused by, inter alia, Amazon’s recklessness without

providing any basis for such general allegations. Plaintiff fails to provide any support for his

claims against Amazon, let alone any support that rises to the level of recklessness. Plaintiff fails

to provide any support that this unknown, unidentified driver was working for Amazon or that

Amazon had any such knowledge of this driver that would rise to the level of recklessness.

        Pa. R. Civ. P. 1028(a)(3) permits the filing of preliminary objections for insufficient

specificity. Additionally, Pa. R. Civ. P. 1019(a) requires that the material facts supporting a

cause of action shall be stated in a concise and summary form. To comply with Pa. R. Civ. P.

1019(a), a complaint must set out material, relevant, and well-pleaded facts to support the

allegations of liability. See Azar v. Lutz, 2019 Pa. Super. Unpub. LEXIS 537 *8-9 (Pa. Super.

Feb. 19, 2019).

        Amazon should not be forced to waste time and resources defending against vague,

unsupported allegations which are not properly pleaded or supported by facts contained in

Plaintiff’s Complaint. Clearly, Plaintiff’s allegations of Amazon’s recklessness in the Complaint

fail to meet the pleading requirements set forth in Pa. R. Civ. P. 1019(a), which mandate that a

complaint set out material, relevant, well-pleaded facts upon which the plaintiff depends to show

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the allegations of liability. See Azar, 2019 Pa. Super. Unpub. LEXIS 537 at *8-9. Plaintiff’s

pleading contains no such facts. Further, Plaintiff’s allegations of Amazon’s recklessness in the

Complaint are clearly indicative of an intention to seek punitive damages against Amazon in this

matter which are unsupported by any facts alleged in the Complaint.

        A claim for punitive damages must be supported by evidence that a defendant had a

subjective appreciation of a risk of harm to which a plaintiff was exposed and that the defendant

acted in conscious disregard of that risk. See Hutchinson v. Luddy, 870 A.2d 766, 771-2 (Pa.

2005) (citing Martin v. Johns-Mansville Corp., 494 A.2d 1088, 1097-8 (Pa. 1985)). Plaintiff fails

to provide any support that this unknown, unidentified driver was working for Amazon or that

Amazon had any such knowledge of this driver that would rise to a “subjective appreciation of a

risk of harm to which a plaintiff was exposed and that the defendant acted in conscious disregard

of that risk.” Id. At best, Plaintiff’s allegations against Amazon aver nothing more than ordinary

negligence and fail to support a claim involving any outrageous conduct or conscious disregard

of risk which is required under Pennsylvania law. See Valentino v. Philadelphia Triathlon, LLC,

150 A.3d 483, 489 (Pa. Super. 2016). Facts and details of Amazon’s alleged recklessness, as

required by Pa. R. Civ. P. 1019, which would allow Amazon to evaluate the claims and prepare a

proper defense, are simply not found in the Complaint. Accordingly, Plaintiff’s allegations of

Amazon’s recklessness contained in the Complaint fail to meet the specificity requirements of

Pa. R. Civ. P. 1019, as the Complaint is devoid of any supporting facts; as alleged, these

allegations aver nothing more than ordinary negligence and fail to support a claim involving any

outrageous conduct or conscious disregard of risk on the part of Amazon. See Valentino, 150

A.3d at 489.




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        Therefore, Amazon’s Preliminary Objection to strike the allegations of recklessness in

Plaintiff’s Complaint has been properly filed and should be sustained.

 V.     RELIEF REQUESTED

        Amazon respectfully requests this Honorable Court enter an Order in the form annexed

hereto, dismissing Plaintiff’s Complaint with prejudice, or in the alternative, strike the offending

paragraphs, allegations, claims and prayers of Plaintiff’s Complaint with prejudice.

                                                      WILSON, ELSER, MOSKOWITZ,
                                                      EDELMAN & DICKER, LLP




                                                      Salvatore A. Clemente, Esquire
                                                      Attorney for Defendants
                                                      Amazon.com & Amazon Logistics, Inc.
Date: August 20, 2022




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                                        VERIFICATION

        I, Salvatore A. Clemente, Esquire, state that I am acquainted with the facts set forth in the

foregoing Preliminary Objections, that same are true and correct to the best of my knowledge,

information and belief, and that this statement is made subject to the penalties of 18 Pa.C.S.A §

4904 relating to unsworn falsification to authorities.




                                                              Salvatore A. Clemente

Date: August 20, 2022




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                                 CERTIFICATE OF SERVICE

        I, Salvatore A. Clemente, Esquire, attorney for Defendants Amazon.com and Amazon

Logistics, Inc., hereby certify that a true and correct copy of the foregoing, Preliminary Objections,

was electronically filed via ECF and therefore viewable and deemed served on all counsel of record

pursuant 231 Pa. Code 205.4 (g)(2)(ii) or by U.S. mail on all other parties.




                                                              Salvatore A. Clemente

Date: August 20, 2022




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                 EXHIBIT “A”




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                           F. HEWITT


 ANTONIO LIGAMERI                                 COURT OF COMMON PLEAS
                                                  PHILADELPHIA COUNTY
 v.

 AMAZON.COM                                       NO.: 220702248

 AND

 AMAZON LOGISTICS, INC.




       AND NOW on this                   day of             2022, upon consideration of

Defendants’ Preliminary Objections and Plaintiff’s Response in Opposition it is hereby ORDERED

AND DECREED that Defendants’ Preliminary Objections are OVERRULED.




                                                            _____________________________




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DEFINO LAW ASSOCIATES, P.C.
By: Chanté N. DePersia, Esquire
Attorney ID: 328708                                              Attorney for Plaintiff
2541 South Broad Street
Philadelphia, PA 19148
T: 215 551 9099
F: 215 551 4099
CND@DeFinoLawyers.com

 ANTONIO LIGAMERI
                                                      COURT OF COMMON PLEAS
 v.                                                   PHILADELPHIA COUNTY

 AMAZON.COM
                                                      NO.: 220702248
 AND

 AMAZON LOGISTICS, INC.



      PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ PRELIMINARY
                    OBJECTIONS TO PLAINTIFF’S COMPLAINT

         Plaintiff, by and through his attorneys, DeFino Law Associates, P.C. hereby respond to the

preliminary objections in opposition and in summary, argue that the Complaint is very specific that

the Defendants’ vehicle struck the Plaintiff’s vehicle while making a left turn from the right lane and

then dragged the Plaintiff’s vehicle several feet. Additionally, Plaintiff has clear video and

photographic evidence of the entire accident and a clearly-marked Amazon vehicle was driven by an

employee, agent, representative or subcontractor of Defendants, who then fled the accident scene.

These circumstances provide clear evidence of the fact that Defendant was fleeing to avoid police

intercept. In further support of Plaintiffs’ response in opposition, Plaintiff responds in paragraph

form to Defendants’ preliminary objection averments as follows:


      1. Admitted in part, denied in part. Plaintiff filed a complaint, it is denied that a vehicle owned

         by Defendants allegedly struck Plaintiff’s vehicle. It is clear that a vehicle owned by

         Defendants struck Plaintiff’s vehicle.


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2. Admitted in part, denied in part. Plaintiff filed a complaint, it is denied that a vehicle owned

    by Defendants allegedly struck Plaintiff’s vehicle. It is clear that a vehicle owned by

    Defendants struck Plaintiff’s vehicle.

3. Admitted.

4. Admitted in part, denied in part. Plaintiff makes said allegations based on security footage

    showing a clearly marked “Amazon” vehicle striking Plaintiff’s vehicle according to the

    allegations made in Complaint and subsequently fleeing. Said security footage is available

    upon request and/or during the Discovery process.

5. Admitted in part, denied in part. It is admitted that Plaintiff makes said allegation. It is

    denied that Plaintiff lacks “factual support” as the security footage clearly shows the entire

    accident. By way of further response, the actions of Defendant as plead actually are

    outrageous and support wanton and reckless conduct in disregard for the safety of others

    since Defendant actually fled the scene. Bannar v. Miller, 701 A.2d 232, 242 (Pa. Super. Ct.

    1997) (citing SHV Coal v. Continental Grain Co., 587 A.2d 702 (Pa. 1991).

6. Admitted in part, denied in part. It is admitted that Plaintiff makes said allegation. It is

    denied that Plaintiff lacks “factual support” as the security footage clearly shows the entire

    accident.

7. No response is required as this is a conclusion of law.

8. No response is required as this is a conclusion of law.

9. No response is required as this is a conclusion of law.

10. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

    “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

    Complaint and subsequently fleeing. Said security footage is available upon request and/or

    during the Discovery process.


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11. Denied. It is denied that Plaintiff lacks “factual support” as the security footage clearly

    shows the entire accident.

12. No response is required as this is a conclusion of law.

13. No response is required as this is a conclusion of law.

14. No response is required as this is a conclusion of law.

15. No response is required as this is a conclusion of law.

16. No response is required as this is a conclusion of law.

17. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

    “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

    Complaint and subsequently fleeing. Said security footage is available upon request and/or

    during the Discovery process.

18. No response is required as this is a conclusion of law.

19. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

    “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

    Complaint and subsequently fleeing. Said security footage is available upon request and/or

    during the Discovery process.

20. Denied. Defendant speaks in terms of “factual evidence” yet ignores the fact that this is the

    pleading stage and facts have been sufficiently and specifically plead; whether they can be

    proven with evidence is a different question for another day. However, the security footage

    speaks for itself.

21. No response is required as this is a conclusion of law.

22. No response is required as this is a conclusion of law.

23. No response is required as this is a conclusion of law.

24. No response is required as this is a conclusion of law.


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25. No response is required as this is a conclusion of law.

26. No response is required as this is a conclusion of law.

27. No response is required as this is a conclusion of law.

28. No response is required as this is a conclusion of law.

29. No response is required as this is a conclusion of law.

30. No response is required as this is a conclusion of law.

31. No response is required as this is a conclusion of law.

32. No response is required as this is a conclusion of law.

33. No response is required as this is a conclusion of law.

34. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

   “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

   Complaint and subsequently fleeing. Said security footage is available upon request and/or

   during the Discovery process.

35. Denied. Defendant speaks in terms of “factual evidence” yet ignores the fact that this is the

   pleading stage and facts have been sufficiently and specifically plead; whether they can be

   proven with evidence is a different question for another day. However, the security footage

   speaks for itself.

36. No response is required as this is a conclusion of law.

37. No response is required as this is a conclusion of law.

38. Denied. This is the pleading stage and facts have been sufficiently and specifically plead;

   whether they can be proven with evidence is a different question for another day. However,

   the security footage speaks for itself.

39. Denied. This is the pleading stage and facts have been sufficiently and specifically plead;

   whether they can be proven with evidence is a different question for another day. However,

   the security footage speaks for itself.
                                                                                       Case ID: 220702248
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40. Denied. This is the pleading stage and facts have been sufficiently and specifically plead;

   whether they can be proven with evidence is a different question for another day. However,

   the security footage speaks for itself.

41. Denied. This is the pleading stage and facts have been sufficiently and specifically plead;

   whether they can be proven with evidence is a different question for another day. However,

   the security footage speaks for itself.

42. No response is required as this is a conclusion of law.

43. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

   “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

   Complaint and subsequently fleeing. Said security footage is available upon request and/or

   during the Discovery process.

44. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

   “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

   Complaint and subsequently fleeing. Said security footage is available upon request and/or

   during the Discovery process.

45. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

   “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

   Complaint and subsequently fleeing. Said security footage is available upon request and/or

   during the Discovery process.

46. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

   “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

   Complaint and subsequently fleeing. Said security footage is available upon request and/or

   during the Discovery process.

47. No response is required as this is a conclusion of law.

48. No response is required as this is a conclusion of law.
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49. No response is required as this is a conclusion of law.

50. No response is required as this is a conclusion of law.

51. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

   “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

   Complaint and subsequently fleeing. Said security footage is available upon request and/or

   during the Discovery process.

52. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

   “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

   Complaint and subsequently fleeing. Said security footage is available upon request and/or

   during the Discovery process.

53. Denied. This is the pleading stage and facts have been sufficiently and specifically plead;

   whether they can be proven with evidence is a different question for another day. However,

   the security footage speaks for itself.

54. Denied. Plaintiff makes said allegations based on security footage showing a clearly marked

   “Amazon” vehicle striking Plaintiff’s vehicle according to the allegations made in

   Complaint and subsequently fleeing. Said security footage is available upon request and/or

   during the Discovery process.

55. No response is required as this is a conclusion of law. Should a response be required, if we

   are to take Defendants’ “conscience disregard” for the standard, Plaintiff has met it as

   clearly Defendants’ actions as alleged establish that he “voluntarily” caused his vehicle to

   flee the scene.

56. No response is required as this is a conclusion of law. Should a response be required, if we

   are to take Defendants’ “conscience disregard” for the standard, Plaintiff has met it as

   clearly Defendants’ actions as alleged establish that he “voluntarily” caused his vehicle to

   flee the scene.
                                                                                       Case ID: 220702248
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   57. No response is required as this is a conclusion of law. Should a response be required, if we

       are to take Defendants’ “conscience disregard” for the standard, Plaintiff has met it as

       clearly Defendants’ actions as alleged establish that he “voluntarily” caused his vehicle to

       flee the scene.

   58. No response is required as this is a conclusion of law. Should a response be required, if we

       are to take Defendants’ “conscience disregard” for the standard, Plaintiff has met it as

       clearly Defendants’ actions as alleged establish that he “voluntarily” caused his vehicle to

       flee the scene.

   59. Denied. This is the pleading stage and facts have been sufficiently and specifically plead;

       whether they can be proven with evidence is a different question for another day. However,

       the security footage speaks for itself.

   60. No response is required as this is a conclusion of law. Should a response be required, if we

       are to take Defendants’ “conscience disregard” for the standard, Plaintiff has met it as

       clearly Defendants’ actions as alleged establish that he “voluntarily” caused his vehicle to

       flee the scene.



       WHEREFORE, Plaintiff respectfully requests that this Honorable Court deny Defendants’

Preliminary Objections and enter the attached Order denying same.




                                                 Respectfully Submitted,

                                                 DEEFINO LAW ASSOCIATES, P.C.
       Dated: 8/25/22
                                                 ________/s/_______________________
                                                 CHANTE N. DEPERSIA, ESQ.




                                                                                           Case ID: 220702248
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DEFINO LAW ASSOCIATES, P.C.
By: Chanté N. DePersia, Esquire
Attorney ID: 328708                                             Attorney for Plaintiff
2541 South Broad Street
Philadelphia, PA 19148
T: 215 551 9099
F: 215 551 4099
CND@DeFinoLawyers.com

 ANTONIO LIGAMERI
                                                     COURT OF COMMON PLEAS
 v.                                                  PHILADELPHIA COUNTY

 AMAZON.COM
                                                     NO.: 220702248
 AND

 AMAZON LOGISTICS, INC.



 PLAINTIFF’S MEMO OF LAW IN SUPPORT OF THEIR RESPONSE IN OPPOSITION
  TO DEFENDANTS’ PRELIMINARY OBJECTIONS TO PLAINTIFF’S COMPLAINT


I.      MATTER BEFORE THE COURT

        Defendant’s Preliminary Objections to recklessness and punitive damages requests.

II.     QUESTION PRESENTED

        Is Defendant’s fleeing the scene specific enough to establish his reckless, outrageous

conduct?

        YES

III.    FACTS

        Plaintiff incorporates their Complaint herein.

IV.    ARGUMENT

        The actions of Defendants as plead actually are outrageous and support wanton and reckless

conduct in disregard for the safety of others since Defendants actually fled the scene, and in doing so

they disregarded the safety of others in a reckless fashion (if not intentional) as they fled. Bannar v.

Miller, 701 A.2d 232, 242 (Pa. Super. Ct. 1997) (citing SHV Coal v. Continental Grain Co., 587
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A.2d 702 (Pa. 1991). There are several specific facts included in the Complaint about why

Defendants’ conduct was reckless. Moreover, it is supoorted by security footage.

        Furthermore, the allegations of recklessness are not general at all; Plaintiff’s allegations are

incredibly specific.

        Defendants speak in terms of “factual evidence” yet ignore the fact that this is the pleading

stage and facts have been sufficiently and specifically plead; whether they can be proven with

evidence is a different question for another day. However, as stated above, the security footsge

speaks for itself.

        V.      RELIEF REQUESTED

        As such, Plaintiff has plead specific facts which support a claim for punitive damages and

therefore request an Order Overruling Defendants’ Objections.




                                                        Respectfully Submitted,

                                                        DEEFINO LAW ASSOCIATES, P.C.
        Dated: 8/25/22
                                                        ________/s/_______________________
                                                        CHANTE N. DEPERSIA, ESQ.




                                                                                              Case ID: 220702248
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                                            CERTIFICATION

       I hereby certify that a true copy of this Response in Opposition to Defendants’ Preliminary

Objections were filed on or about 8/25/22 and e-served on all counsel of record.




                                              Respectfully Submitted,

                                              DEEFINO LAW ASSOCIATES, P.C.
       Dated: 8/25/22
                                              ________/s/_______________________
                                              CHANTE N. DEPERSIA, ESQ.




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                        29 AUG 2022 04:47 pm

                            D. KIM

 WILSON ELSER MOSKOWITZ                                Attorney for Defendants,
 EDELMAN & DICKER, LLP                                 Amazon.com & Amazon Logistics, Inc.
 By: Salvatore A. Clemente, Esquire
       Maria G. Perri-Quinn, Esquire
       Jared M. Smith, Esquire
 Attorney ID: 80830/86737/321370
 Two Commerce Square
 2001 Market Street, Suite 3100
 Philadelphia, PA 19103
 Email:Salvatore.Clemente@wilsonelser.com
        Maria.Perri@wilsonelser.com
        Jared.Smith@wilsonelser.com
                                                :
 ANTONIO LIGAMERI,                              :        COURT OF COMMON PLEAS
                                                :        PHILADELPHIA COUNTY
                       Plaintiff,               :
        vs.                                     :        CIVIL ACTION - LAW
                                                :
                                                :        No. 220702248
 AMAZON.COM and                                 :
 AMAZON LOGISTICS, INC.,                        :
                                                :
                       Defendants.              :
                                                :

     DEFENDANTS AMAZON.COM & AMAZON LOGISTICS, INC.’s REPLY
   MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS TO
            PLAINTIFF ANTONIO LIGAMERI’S COMPLAINT

       COMES NOW, Defendants Amazon.com & Amazon Logistics, Inc. (collectively,

“Amazon”) by and through its counsel, Wilson Elser Moskowitz Edelman & Dicker LLP, and

hereby files the instant Reply Memorandum of Law in Support of their Preliminary Objections to

Plaintiff, Antonio Ligameri’s (“Plaintiff”) Complaint as follows:

       Plaintiff makes repeated reference to “security footage” he or his counsel is in possession

of that purportedly shows an “’Amazon’ vehicle striking Plaintiff’s vehicle according to the

allegations made in Complaint and subsequently fleeing,” something that Plaintiff refers to as

showing “the entire accident.” See Pl. Resp. in Opp., ¶¶ 4-6, 10-11, 17, 19-20, 34-35, 38-41, 43-




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46, 51-54, 59. This “security footage” is not referenced in any allegation of Plaintiff’s

Complaint. See generally, Exhibit “A” to Amazon’s Preliminary Objections. Plaintiff also

declares, without providing any factual allegations in support, that “It is clear that a vehicle

owned by Defendants [Amazon] allegedly struck Plaintiff’s vehicle.” See Pl. Resp. in Opp., ¶¶ 1-

2. Further, Plaintiff, for the first time, now represents to this Court that this “security footage”

provides “clear evidence of the fact that Defendant [Amazon] was fleeing to avoid police

intercept.” See Pl. Resp. in Opp., 1. In effect, Plaintiff now declares that he possesses video

evidence showing that Amazon itself hit him with a vehicle and then fled the scene to avoid

police. Not only is such an allegation wildly inflammatory and without any factual basis in any

allegation in his Complaint, but Plaintiff ignores the fact that he clearly alleges that Amazon’s

“employees, agents, representatives, and/or subcontractors” operated the purported vehicle that

struck Plaintiff’s vehicle during this incident, and not Amazon. See Exhibit “A” to Amazon’s

Preliminary Objections, ¶ 7.

       This alleged “security footage” video has yet to be supplied to Amazon’s counsel, and

furthermore has yet to be supplied to this Court. Plaintiff instead simply declares that such

“security footage” exists and therefore his allegations are not only valid, but in fact the

inflammatory allegations that Amazon itself acted “recklessly” are valid. Additionally, Plaintiff

now declares, for the first time, that Amazon’s own conduct is purportedly “outrageous and

support wanton and reckless conduct in disregard for the safety of others since Defendant

actually fled the scene.” See Pl. Resp. in Opp., ¶ 5; Pl. “Memo” of Law in Support, 1-2. Such an

inflammatory statement is not only not present in any allegation of Plaintiff’s Complaint, but

Plaintiff provides absolutely no facts that might support such an inflammatory allegation, save

for reference to the “security footage” that Plaintiff has yet to provide to either Amazon or this



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Court.

         Plaintiff simply declares that “security footage” exists of this incident and that it not only

subjects Amazon to both direct and vicarious liability, but in fact also rises to reckless conduct,

or even more The fact remains that Plaintiff has yet to produce this purported “security footage”

to either Amazon or this Court, let alone even make any attempt whatsoever to identify the

alleged “employees, agents, representatives, and/or subcontractors” that Plaintiff admits operated

the purported vehicle that struck Plaintiff’s vehicle during this incident. Simply stated, the

allegation that the purported vehicle bore Amazon’s name and then allegedly fled an accident,

while simultaneously alleging that alleged “employees, agents, representatives, and/or

subcontractors” operated the vehicle at issue, provides absolutely no support for anything other

than a simple negligence allegation against Amazon. Plaintiff fails to provide any factual

support, including this “security footage,” in support of his argument that Amazon itself was

reckless, either directly or vicariously, that might be legally sufficient to impute reckless

conduct, and an eventual demand for punitive damages against Amazon. Further, Plaintiff

provides absolutely no authority for the proposition that simple reference to unidentified video

footage in a reply to preliminary objections, and not in his Complaint, can serve to justify

inclusion of such scandalous, impertinent, and inflammatory language in his Complaint.

         Finally, Plaintiff appears to simply reference this unidentified “security footage” as

grounds for why its unsupported Paragraphs 5, 7-14, 16, 19, 23, and 26 should not be stricken

from his Complaint. See Pl. Resp. in Opp., ¶¶ 10-42. In fact, his “Memo of Law in Support” fails

to even attempt to argue that these Paragraphs should not be stricken. See generally, Pl. “Memo”

of Law in Support. However, reference to this unidentified and unsupplied “security footage”

fails to provide the factual specificity and legal sufficiency that Pa. R. Civ. P. 1028(a)(3-4)



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require. Plaintiff simply declares that because this “security footage” shows a vehicle bearing

Amazon’s name, that his unsupported allegations in Paragraphs 5, 7-14, 16, 19, 23, and 26 are

valid. This is quite an expansive reading of the specificity and sufficiency requirements of Pa. R.

Civ. P. 1028(a)(3-4), and Plaintiff fails to supply any caselaw or other authority that might serve

to justify such an expansive interpretation.

       Accordingly, Amazon respectfully requests that this Honorable Court enter an Order in

the form annexed to its Preliminary Objections, dismissing Plaintiff’s Complaint, with prejudice,

or in the alternative, strike the offending paragraphs, allegations, claims and prayers of Plaintiff’s

Complaint, with prejudice.

                                                       WILSON, ELSER, MOSKOWITZ,
                                                       EDELMAN & DICKER, LLP



                                                       Salvatore A. Clemente, Esquire
                                                       Attorney for Defendants
                                                       Amazon Logistics, Inc. & Amazon.com Inc.
Date: August 29, 2022




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                                                                                           Case ID: 220702248
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                                  CERTIFICATE OF SERVICE

       I, Salvatore A. Clemente, Esquire, attorney for Defendants, Amazon.com & Amazon

Logistics, Inc., hereby certify that a true and correct copy of the foregoing, Reply Memorandum

of Law in Support of their Preliminary Objections to Plaintiff’ Complaint, was electronically filed

via ECF and therefore viewable and deemed served on all counsel of record pursuant 231 Pa. Code

205.4 (g)(2)(ii) or by U.S. mail on all other parties.




                                                            Salvatore A. Clemente

Date: August 29, 2022




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                 30 AUG 2022 12:48 pm

                F. HEWITT




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                                                               Case ID: 220702248
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                                                             Control No.: 22083664
        Case 2:22-cv-04289-JMY Document 1-1 Filed 10/26/22 Page 74 of 102
                         31 AUG 2022 10:09 am

                             T. BARRETT
 WILSON ELSER MOSKOWITZ
 EDELMAN & DICKER, LLP                                  Attorney for Defendants,
 By: Salvatore A. Clemente, Esquire                     Amazon.com & Amazon Logistics, Inc.
       Maria G. Perri-Quinn, Esquire
       Jared M. Smith, Esquire
 Attorney ID: 80830/86737/321370
 Two Commerce Square
 2001 Market Street, Suite 3100
 Philadelphia, PA 19103
 Email:Salvatore.Clemente@wilsonelser.com
        Maria.Perri@wilsonelser.com
        Jared.Smith@wilsonelser.com
                                                  :
 ANTONIO LIGAMERI,                                :        COURT OF COMMON PLEAS
                                                  :        PHILADELPHIA COUNTY
                        Plaintiff,                :
         vs.                                      :        CIVIL ACTION - LAW
                                                  :
                                                  :        No. 220702248
 AMAZON.COM and                                   :
 AMAZON LOGISTICS, INC.,                          :
                                                  :
                       Defendants.                :
                                                  :

  DEFENDANTS AMAZON.COM & AMAZON LOGISTICS, INC.’s SUR SUR REPLY
   MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS TO
             PLAINTIFF ANTONIO LIGAMERI’S COMPLAINT

        COMES NOW, Defendants Amazon.com & Amazon Logistics, Inc. (collectively,

“Amazon”) by and through its counsel, Wilson Elser Moskowitz Edelman & Dicker LLP, and

hereby files the instant Sur Sur Reply Memorandum of Law in Support of their Preliminary

Objections to Plaintiff, Antonio Ligameri’s (“Plaintiff”) Complaint as follows:

        Plaintiff’s Sur Reply, titled a “Response in Opposition to Defendants’ Memorandum of

Law in Support of Defendant’s Preliminary Objections to Plaintiff’s Complaint” makes

inflammatory accusations of Amazon’s counsel and demands the award of “counsel fees for

frivolous filings”, but once again fails respond to the fact that the alleged “video and

photographic evidence” of a minor accident that Plaintiff references is not in his Complaint, and



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cannot serve to justify inclusion of such scandalous, impertinent, and inflammatory language in

his Complaint. Plaintiff further ham-handily and baselessly alleges that Amazon’s counsel

“intentionally misleads this Court”, and then has the temerity to seek unspecified amount of fees.

        Specifically, Plaintiff states that his counsel provided the “security footage” on August

29, 2022 via email. Amazon acknowledges that Plaintiff’s counsel provided the “security

footage” referenced as a courtesy on this date, and Amazon’s Reply Brief in Support of its

Preliminary Objections, filed on the same date, inadvertently did not remove that Plaintiff’s

counsel had yet to provide the alleged video. However, Plaintiff fails respond to the fact that this

“security footage” is not part of the pleadings, not referenced in any manner in Plaintiff’s

Complaint and lacks authenticity. Plaintiff did not include an affidavit to its author or its

authenticity to the undersigned or this Court. In short, Plaintiff would have this Court simply

take notice of alleged “security footage” that is not only not referenced in his Complaint, but also

unauthenticated. Moreover, an apparent slow moving side impact side swipe caused by Plaintiff

improperly passing the alleged Amazon vehicle on a single lane street while it was making a left

turn does not support that Amazon itself, either directly or vicariously, that may have acted in a

reckless manner, and an eventual demand for punitive damages against Amazon. Further,

Plaintiff provides absolutely no authority for the proposition that simple reference to

unauthenticated video footage in a reply to preliminary objections, and not in his Complaint, can

serve to justify inclusion of such scandalous, impertinent, and inflammatory language in his

Complaint. Even if it was now supplied to this Court, it cannot be used as a basis for dismissing

Amazon’s preliminary objections. See Pa. R. Civ. P. 1028(c)(2) Note (stating that “preliminary

objections raising an issue under subdivision (a) (2) , (3) or (4) may be determined from facts of

record so that further evidence is not required”).




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        Further, Plaintiff seeks counsel fees for what he refers to as “intentionally misleading this

Court” and “frivolous filings” yet provides absolutely no authority for what amount of fees ought

to be awarded, much less the basis for any such fees. As noted herein, Amazon acknowledges

that Plaintiff’s counsel provided the “security footage” referenced as a courtesy on this date, and

Amazon’s Reply Brief in Support of its Preliminary Objections, filed on the same date,

mistakenly referenced the fact that Plaintiff’s counsel had yet to provide this footage to

Amazon’s counsel. However, Plaintiff fails respond to the fact that this “security footage” has

yet to be supplied to the Court, or referenced in any manner in Plaintiff’s Complaint. Amazon’s

preliminary objection to dismiss unsupported allegations Amazon’s own conduct, either directly

or vicariously, that might be legally sufficient to impute reckless conduct, and an eventual

demand for punitive damages against Amazon fail to rise to the level of “frivolous filings” that

Plaintiff references.

        Finally, as noted in Amazon’s Reply Memorandum of Law, Plaintiff has never once

attempted to argue that his Complaint’s unsupported Paragraphs 5, 7-14, 16, 19, 23, and 26

should not be stricken from his Complaint. Instead, Plaintiff simply references this

unauthenticated “security footage” that is neither referenced in the Complaint nor supplied to this

Court. Even if it was now supplied, it cannot be used as a basis for dismissing Amazon’s

preliminary objections. See Pa. R. Civ. P. 1028(c)(2) Note (stating that “preliminary objections

raising an issue under subdivision (a) (2) , (3) or (4) may be determined from facts of record so

that further evidence is not required”).

        Accordingly, Amazon respectfully requests that this Honorable Court enter an Order in

the form annexed to its Preliminary Objections, dismissing Plaintiff’s Complaint, with prejudice,

or in the alternative, strike the offending paragraphs, allegations, claims and prayers of Plaintiff’s




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274963584v.1

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Complaint, with prejudice.

                                           WILSON, ELSER, MOSKOWITZ,
                                           EDELMAN & DICKER, LLP




                                           Salvatore A. Clemente, Esquire
                                           Attorney for Defendants
                                           Amazon Logistics, Inc. & Amazon.com Inc.
Date: August 31, 2022




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274963584v.1

                                                                         Control No.: 22083664
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                                  CERTIFICATE OF SERVICE

        I, Salvatore A. Clemente, Esquire, attorney for Defendants, Amazon.com & Amazon

Logistics, Inc., hereby certify that a true and correct copy of the foregoing, Sur Sur Reply

Memorandum of Law in Support of Defendants, Amazon.com & Amazon Logistics, Inc.’s

Preliminary Objections to Plaintiff’ Complaint, was electronically filed via ECF and therefore

viewable and deemed served on all counsel of record pursuant 231 Pa. Code 205.4 (g)(2)(ii) or by

U.S. mail on all other parties.




                                                           Salvatore A. Clemente

Date: August 31, 2022




                                                                                      Case ID: 220702248
274963584v.1

                                                                                    Control No.: 22083664
                    Case 2:22-cv-04289-JMY Document 1-1 Filed 10/26/22 Page 79 of 102




COPIES SENT PURSUANT TO Pa.R.C.P. 236(b) C. ALEJANDRO 09/27/2022
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ANTONIO LIGAMERI,                                            Court of Common Pleas
                                                             Philadelphia CountyFiled and Attested by the
        Plaintiffs,                                          Civil Division   Office of Judicial Records
                                                                                     14 OCT 2022 02:23 pm
                                                                                          G. IMPERATO
     vs.                                                     Docket No.: 220702248
AMAZON.COM AND AMAZON LOGISITCS,
INC.

        Defendants.




          CERTIFICATE PREREQUISITE TO SERVICE OF A SUBPOENA PURSUANT TO
                                   RULE 4009.22

As a prerequisite to service of a subpoena for documents and things pursuant to Rule 4009.22,

                      RecordTrak, on behalf of SALVATORE A. CLEMENTE , certifies that:

(1) a notice of intent to serve the subpoena with a copy of the subpoena attached thereto was mailed or
delivered to each party at least twenty days prior to the date on which the subpoena is sought to be served,

(2) a copy of the notice of intent, including the proposed subpoena, is attached to this certificate,

(3) no objection to the subpoena has been received or it has been waived, and

(4) the subpoena which will be served is identical to the subpoena which is attached to the notice of intent to
serve the subpoena.

Date : 10/13/2022


                                                             /S/SALVATORE A. CLEMENTE
                                                             SALVATORE A. CLEMENTE
                                                             WILSON, ELSER, MOSKOWITZ, EDELMAN &
                                                             DICKER
                                                             TWO COMMERCE SQ, 2001 MARKET ST
                                                             SUITE 3100
                                                             PHILADELPHIA PA, 19103
                                                             (215) 627-6900



                                                                                                    Case ID: 220702248
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               RT#: 380279
RECORDS PERTAIN TO: ANTONIO J. LIGAMERI
          ANTONIO LIGAMERI             :    COURT: Court Of Common Pleas Of Philadelphia County
                  vs.                  :     TERM: July 2022
       AMAZON.COM AND AMAZON           :   DOCKET: 220702248
            LOGISITCS, INC.
                      NOTICE OF INTENT TO SERVE A SUBPOENA TO PRODUCE DOCUMENTS


TO:     CHANTE N. DEPERSIA
        DEFINO LAW ASSOCIATES
        2541 SOUTH BROAD STREET
        PHILADELPHIA, PA 19148



        September 30, 2022

Please take notice that on behalf of SALVATORE A. CLEMENTE, attorney for Defendant, we intend to serve a
subpoena identical to the one(s) attached to this notice. You have until October 20, 2022 to file of record and serve upon
the undersigned an objection to the subpoena(s). If no objection is made, the subpoena(s) will be served.

IF COUNSEL AGREES TO WAIVE THE 20 DAY NOTICE PERIOD, PLEASE INDICATE
BELOW AND FAX SAME TO THE UNDERSIGNED AT YOUR EARLIEST OPPORTUNITY.

IF YOU WISH TO PURCHASE COPIES OF THE RECORDS, PLEASE CONTACT FOR PRICING AND FAX THIS
CORRESPONDENCE BY October 20, 2022 TO (610) 992-1405. All records will be provided (including
no record statements) as produced by each record location.

                       Daniel Wake 610.354.8348

                       651 Allendale Road
                       P. O. Box 61591
                       King of Prussia, PA 19406

                                           LIST OF RECORD CUSTODIANS AND SUBPOENAS

 TAG      RECORD CUSTODIAN
 1        ____ CARABELLI PHYSICAL MEDICINE & THERAPY

 2        ____ BROWN'S SUPER STORES INC.

 3        ____ SCIENCE HISTORY INSTITUTE

 4        ____ STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

 5        ____ CAPACIO CHIROPRACTIC CENTER

 6        ____ SPINAL CARE PAIN ASSOCIATES

 7        ____ SOUTH PHILADELPHIA OPEN MRI

 8        ____ PHILADELPHIA HEART, P.C.

 9        ____ INDEPENDENCE BLUE CROSS




___ Yes, I would like to purchase a copy of all the records listed above.
___ Yes, I would like purchase the specific records I have indicated above.

       SIGNATURE: _______________________________________ Date: ______________

       FIRM: __________________________________________________________________

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___ YES, I AGREE TO WAIVE THE 20 DAY NOTICE PERIOD FOR ALL SUBPOENAS ON THIS NOTICE


         Signature of Counsel: _______________________________________ Date: ______________
         Counsel for: _______________________________________
         Firm: ___________________________________________________________________________
         Email: __________________________________________________________________________




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                                           EXHIBIT A

RE: ANTONIO LIGAMERI vs. AMAZON.COM AND AMAZON LOGISITCS, INC.
NO. 220702248
FILE #: 380279; TAG 2
LOCATION: BROWN’S SUPER STORES INC.

RECORDS PERTAIN TO: ANTONIO J. LIGAMERI SS #: , DOB: AKA:


1 . Any and all employment records pertaining to Antonio J. Ligameri, including but not limited to application(s) for
employment, personnel records, probationary documents, workers' compensation claims, attendance records, vacation/PTO
time taken, performance evaluations, reviews, disciplinary actions, commendations, promotions, job titles held and associated
job duties, responsibilities and physical/educational/professional experience requirements; intra-company applications for
alternate positions within the company and associated documentation along with physical/educational/professional experience
requirements for those positions; earnings history, Family Medical Leave Act
(FMLA) records, short term disability applications and benefits, long term disability applications and benefits, medical records
and reports and drug screenings.
Including but not limited to records of treatment for Brown's Brooklawn, Route 130 and Browing road, Gloucester city, NJ.




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                                           EXHIBIT A

RE: ANTONIO LIGAMERI vs. AMAZON.COM AND AMAZON LOGISITCS, INC.
NO. 220702248
FILE #: 380279; TAG 3
LOCATION: SCIENCE HISTORY INSTITUTE

RECORDS PERTAIN TO: ANTONIO J. LIGAMERI SS #: , DOB: AKA:


1 . Any and all employment records pertaining to Antonio J. Ligameri, including but not limited to application(s) for
employment, personnel records, probationary documents, workers' compensation claims, attendance records, vacation/PTO
time taken, performance evaluations, reviews, disciplinary actions, commendations, promotions, job titles held and associated
job duties, responsibilities and physical/educational/professional experience requirements; intra-company applications for
alternate positions within the company and associated documentation along with physical/educational/professional experience
requirements for those positions; earnings history, Family Medical Leave Act
(FMLA) records, short term disability applications and benefits, long term disability applications and benefits, medical records
and reports and drug screenings.




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                                            EXHIBIT A

RE: ANTONIO LIGAMERI vs. AMAZON.COM AND AMAZON LOGISITCS, INC.
NO. 220702248
FILE #: 380279; TAG 4
LOCATION: STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

RECORDS PERTAIN TO: ANTONIO J. LIGAMERI SS #: , DOB: AKA:


1 . Please produce the complete copy of your complete claim file of or related any State Farm Mutual Automobile Insurance
Company owned by Antonio J. Ligameri, and/or an accident/incident involving Addriel Garcia, but not limited to, any and all of
the following: (1) complete copy of policy and declarations; (2) entries and/or notes in any claims diary or log; (3) reports by any
investigator; (4) written or recorded witness statements; (5) internal communications, notes, instant messaging, texts,
memoranda, evaluations and (6) medical and/or PIP records and/or payments. If any documents or information is redacted and/or
not produced, please provide a privilege log.
Including but not limited to records for State Farm Insurance, P.O. Box 89000, Atlanta, GA.




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WILSON ELSER MOSKOWITZ                                                  Filed and Attested by the
EDELMAN & DICKER, LLP                                                 Office of Judicial Records
By:    Salvatore A. Clemente, Esquire                                      24 OCT 2022 02:40 pm
       Jared M. Smith, Esquire                                                  S. GILLIAM
                                                            Attorney for Defendants,
Attorney ID: 80830/321370                                   Amazon.com & Amazon Logistics,
Two Commerce Square                                         Inc.
2001 Market Street, Suite 3100
Philadelphia, PA 19103
Tel. 215-627-6900
Fax.215-627-2665
Email: Salvatore.Clemente@wilsonelser.com
       Jared. Smith@wilsonelser.com

                                                 :
 ANTONIO LIGAMERI,                               :         COURT OF COMMON PLEAS
                                                 :         PHILADELPHIA COUNTY
                       Plaintiff,                :
         vs.                                     :
                                                 :         CIVIL ACTION - LAW
 AMAZON.COM and AMAZON                           :
 LOGISTICS, INC.,                                :
                                                 :         No. 220702248
                       Defendants.
                                                 :

                       PRAECIPE FOR ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

        Kindly enter my appearance as counsel on behalf of Defendants, Amazon.com and

Amazon Logistics, Inc. in the above-captioned matter.



                                                     Respectfully submitted,

                                                     WILSON, ELSER, MOSKOWITZ,
                                                     EDELMAN & DICKER LLP

                                                     Jared M. Smith
                                                     Jared M. Smith, Esquire
                                                     Attorney for Defendants,
                                                     Amazon.com and Amazon Logistics, Inc.
Dated: October 24, 2022




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                                                                                      Case ID: 220702248
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                                CERTIFICATE OF SERVICE

        I, Jared M. Smith, Esquire, attorney for Defendants, Amazon.com and Amazon Logisitics,

Inc. hereby certify that a true and correct copy of the foregoing Praecipe for Entry of Appearance,

was electronically filed via the Court’s electronic filing system and therefore viewable and deemed

served on all counsel of record pursuant 231 Pa. Code 205.4 (g)(2)(ii).


                                                     Jared M. Smith
                                                     Jared M. Smith, Esquire


Dated: October 24, 2022




266322723v.1
                                                                                          Case ID: 220702248
